
ATTORNEY FOR APPELLANT			ATTORNEYS FOR APPELLEE

Aaron E. Haith					Jeffrey A. Modisett

Indianapolis, Indiana				Attorney General of Indiana



Andrew L. Hedges

Deputy Attorney General

Indianapolis, Indiana







In The

INDIANA SUPREME COURT



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JAMES McKINNEY,				)	

Defendant-Appellant,		)			

)

v.					)	49S00-9702-CR-122

)					STATE OF INDIANA,				)

Plaintiff-Appellee.			)



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;________________________________________________ &nbsp;



APPEAL FROM THE MARION SUPERIOR COURT

The Honorable Nancy L. Broyles, Master Commissioner

Cause No. 49G04-9507-CF-102627

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;_________________________________________________



On Direct Appeal







DICKSON, J.



The defendant contends that his murder conviction is not supported by sufficient evidence. &nbsp;When presented with this issue, we will affirm the conviction if, considering only the probative evidence and reasonable inferences supporting the verdict and without reweighing evidence or assessing witness credibility, we conclude that a reasonable trier of fact could find the defendant guilty beyond a reasonable doubt. &nbsp;
Mayo v. State
, 681 N.E.2d 689, 691 (Ind. 1997). &nbsp;

The evidence included the testimony of two witnesses who observed the defendant shoot the victim. &nbsp;Two witnesses heard the defendant admit the shooting. &nbsp;The defendant walked up to the victim, checked him for weapons, and then repeatedly shot him when he noticed that the victim was in possession of a handgun. &nbsp;The evidence does not demonstrate that the victim ever attempted to use the handgun to place the defendant in fear of great bodily harm or death. &nbsp;The defendant argues that inconsistencies render the testimony inherently dubious and that the State failed to rebut his claim of self-defense. &nbsp;

Applying our standard of review, we find that a reasonable jury could have found the defendant guilty of murder beyond a reasonable doubt. &nbsp;

Judgment affirmed.

SHEPARD, C.J., and SULLIVAN, SELBY, and BOEHM, JJ., concur.

